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STATE OF ILLINOIS      )
                             )
COUNTY OF                    )


                                                 AFFIDAVIT


I      ~..\ ~ " ~".\ l)\.,,S>\t- --S<l R_'\_l)l~°i do hereby declare and affirm that the following information
within this affidavit is true and correct in substance and in facts.




Pursuant to 28 USC 1746, 18 USC 162f or 735 ILCS 5/1-109, I declare, under penalty of perjury that
Everything contained herein is true and accurate to the best of my knowledge and belief. I do declare
and affirm that the matter at hand is not taken either frivolously or maliciously and that I believe the
foregoing matter is taken in good faith.

                                             Signed on this   --11\ day of _ _ _· . ~c.=.....,_,f
                                                                                    .;: o       =~~-c,_
                                                                                                     c_    _ .2012'




                                                                                                          Afflant
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     Bruce Rauner                                                                                                        John Baldwin
       Governor                                                                                                          Acting Director




                                              The Illinois Department of Corrections

               1301 Concordia Court. P.O. Box 19277 • Sorinafield. IL 62794- 9277 • (21 7) 558-2200 T DD: (800) 526-0844
 Offender: Lisle, Steven                                                                                                 10/4/18
                                                                                                                         - -- -Date
                                                                                                                                 - -- -
 ID#:          R40159
               - --------------------
 Facility:     _
               M_e_n_
                    a_rd_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 This is in response to your grievance received on 8/24 /18                 . This office has determined the issue will be addressed without
 a formal hearing. A review of t he Grievance, Grievance Officer/ CAO response to the grievance has been conducted. For a grievance that
 is direct review by the ARB, a review of the Grievance has been conducted.
 Your issue regarding: Grievance dated: 8i2 1i18              Grievance Number: _ _ _ _ _ _ Griev Loe: _P_O_N            _ _ _ __

 •   Transfer denied by the Facility

 •   Dietary

 •   Personal Property

 •   Mailroom/Publications

 •   Assignment (job, cell)

 •   Commissary I Trust Fund

 •   Conditions (cell conditions, cleaning supplies, etc.)

 •   Disciplinary Report: Dated:                Incident#

 0   Other Staff conduct/Orange Crush

Based on a review of all available infonnation, this office has detennined your grievance to be:
 D   Affirmed, Warden _ _ _ _ _ _ _ _ is advised to                      D   Denied as the facility is following the procedures outlined in
     provide a written response of corrective action to this office by       DR525.
                                                                         D   Denied as procedures were followed in accordance with DR
 D   Denied, in accordance with DR504F, this is an administrative            420 for removal/denial of an offender from/for an assignment
     decision.
                                                                         D   Denied as this office finds no violation of the offender's due
 0   Denied, this office finds the issue was appropriately addressed         process in accordance with OR504.80 and OR504.30. fhis
     by the facility Administration.                                         office is reasonably satisfied the offender committed the
                                                                             offense cited in the report.
•    Other: Staff misconduct is unsubstantiated.




CC: Warden, Menard                               Correctional Center
                - -- - -- - - --
    LisIe, Steven                                ID# R40159


                   Mission: To serve justice in Illinois and increase public safety by promoting positive change in
                      offender behavior, operating successful reentry programs, and reducing victimization.
                                                               www.illinois.gov/idoc
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